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                    JUDGMENT CREDITOR’S AFFIDAVIT (PURSUANT TO F.S.A. 56.29)


   STATE OF NEW JERSEY                    )
                                          : ss.
   COUNTY OF MIDDLESEX                    )


          Before me, the undersigned authority, personally appeared Michael Pues, who upon being

   first duly sworn, deposes and says that:

          1.      I am Executor of the Pues Family Trust IRA, judgment creditor in the action

   pending before this Court. I am furnishing this affidavit pursuant to Section 56.29, Florida

   Statutes.

          2.      A final judgment in the amount of $510,434.70 plus interest accruing from the date

   of entry was entered against the Judgment Debtors as described in judgment creditor’s amended

   motion to commence proceedings supplementary in aid of execution. The Issuing court was

   registered in this Court from a judgment originating in the United States District Court for the

   Eastern District of New York Case No. 11-CV-05537.

          3.      A writ of execution has been issued and judgment creditor filed a judgment lien

   certificate according to applicable Florida Statutes. The judgment remains wholly unsatisfied and

   is valid and outstanding.

          4.      Judgment creditor is entitled to proceedings supplementary to execution as

   financial and public records obtained by judgment creditor show that Defendant has attempted to

   defraud creditors such as Plaintiff through a variety of means as outlined in the Plaintiff’s motion.

   The motion details these facts with particularity. The facts described in the motion explain

   sufficiently why the stated requested relief is appropriate and judgment creditor incorporates the

   facts contained within the motion by reference in this affidavit.
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                                               MICHAEL PUES, Executor
                                               PUES FAMILY TRUST IRA

          Sworn to and subscribed before me on July____, by __________________, who is
   personally known to me.


   Signature of person taking acknowledgment



   Name of acknowledger typed, printed or stamped


    Notary Public
   Title or rank
